Case 1:22-cr-10038-IT Document 175 Filed 02/29/24 Page 1 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 1

UNITED STATES DISTRICT COURT

District of Massachusetts AMENDED
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. )
ARIEL LEGASSA, ) Case Number: 1:22-cr-10038-IT-1

Defendant. )
USM Number: 84414-509
) E, Peter Parker
) Defendant’s Attorney

THE DEFENDANT:
C] pleaded guilty to count(s)

[] pleaded nolo contendere to count(s)
which was accepted by the court.

M was found guilty on count(s) 1-7, 8-10
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 1341 Mail Fraud 4/1/2021 1
18 U.S.C. § 1341 Mail Fraud 4/27/2021 2
The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
] The defendant has been found not guilty on count(s)

LC Count(s) (J is [are dismissed on the motion of the United States.

__ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

2/27/2024

Date of Imposition of Judgment
—— ’
Z bz. fAtO = =
Sigeafure oT Judge

Indira Talwani, U.S. District Judge
‘Name and Title of Judge —

2/29/2024
Date —
Case 1:22-cr-10038-IT Document 175 Filed 02/29/24 Page 2 of 8

AO 245B (Rev. 09/19} | Judgment in a Criminal Case
Sheet 1A

. Judgment—Page 2 of 8
DEFENDANT: ARIEL LEGASSA, Defendant.
CASE NUMBER: 1:22-cr-10038-IT-1

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 1341 Mail Fraud 6/15/2021 3

18 U.S.C. § 1341 Mail Fraud 6/24/2021 4

18 U.S.C. § 1341 Mail Fraud 8/24/2021 5

18 U.S.C. § 1341 Mail Fraud 10/5/2021 6

18 U.S.C. § 1341 Mail Fraud 11/23/2021 7

18 U.S.C. § 1957 Money Laundering 4/16/2021 8

18 U.S.C. § 1957 Money Laundering 5/11/2021 9

18 U.S.C. § 1957 Money Laundering 10/4/2021 10
Case 1:22-cr-10038-IT Document 175 Filed 02/29/24 Page 3 of 8

AO 245B (Rev. 09/19) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment ~— Page 3 of
DEFENDANT: ARIEL LEGASSA, Defendant.
CASE NUMBER: | 1:22-cr-10038-IT-1

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:
42 months on each count to be served concurrently.

Wi The court makes the following recommendations to the Bureau of Prisons:
The court recommends defendant be designated to a facility commensurate with his security level that is near
Burlington, Connecticut.

(The defendant is remanded to the custody of the United States Marshal.

(1 The defendant shall surrender to the United States Marshal for this district:
C] at Oam O pm on

C1 as notified by the United States Marshal.

Wi The defendant shal! surrender for service of sentence at the institution designated by the Bureau of Prisons:
[WM before 2 p.m. on 4/8/2024 _
LC as notified by the United States Marshal.

LJ as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on _ _ tO
at _ , with a certified copy of this judgment.
"UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
Case 1:22-cr-10038-IT Document 175 Filed 02/29/24 Page 4 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case

Sheet 3 — Supervised Release

Judgment—Page 4 of 8

DEFENDANT: ARIEL LEGASSA, Defendant.
CASE NUMBER:  1:22-cr-10038-IT-1

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

7.

3 years on each count to be served concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
WV The above drug testing condition is suspended, based on the court's determination that you
. pose a low risk of future substance abuse. (check if applicable)

You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)

MM You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

C] You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

C You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached

page.
Case 1:22-cr-10038-IT Document 175 Filed 02/29/24 Page 5 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3A — Supervised Release

Judgment—Page 9 of 8
DEFENDANT: ARIEL LEGASSA, Defendant.
CASE NUMBER: 1:22-cr-10038-IT-1

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer,

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer. .

9. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

=

U.S. Probation Office Use Only

A US. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature : _ Date
Case 1:22-cr-10038-IT Document 175 Filed 02/29/24 Page 6 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3D — Supervised Release

Judgment—Page 6 of _ 8

DEFENDANT: ARIEL LEGASSA, Defendant.
CASE NUMBER: 1:22-cr-10038-IT-1

SPECIAL CONDITIONS OF SUPERVISION

4. You must not knowingly have any contact, direct or indirect, with any witnesses in this matter or the victim company or

any of its employees.
2. You must pay the balance of any fine or restitution imposed according to a court-ordered repayment schedule.

3. You are prohibited from incurring new credit charges or opening additional lines of credit without the approval of the

Probation Office while any financial obligations remain outstanding.
4, You must provide the Probation Office access to any requested financial information, which may be shared with the

Asset Recovery Unit of the U.S. Attorney's Office.
Case 1:22-cr-10038-IT Document 175 Filed 02/29/24 Page 7 of 8

AO 245B (Rev. 09/19) Judgment ina Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page t of 8

DEFENDANT: ARIEL LEGASSA, Defendant.
CASE NUMBER: 1:22-cr-10038-IT-1

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 1,000.00 $ 580,500.00 $ $ $
C1 The determination of restitution is deferred until _ An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
™M The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned ayment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18'U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
NESN $5,000.00
Travelers Insurance and Surety Company $575,500.00

TOTALS $ 0.00 $ 580,500.00

C1 Restitution amount ordered pursuant to plea agreement $

[] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(1 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
C1 the interest requirement is waived forthe [J fine O restitution.

(1 the interest requirement for the O fine © restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography, Victim Assistance Act of 2018, Pub. L. No. 115-299.
«* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22. . .

*#* Findings for the total amount o losses are oe under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
Case 1:22-cr-10038-IT Document 175 Filed 02/29/24 Page 8 of 8

AO 245B (Rev. 09/19) Judgment ina Criminal Case
Sheet 6 — Schedule of Payments

Judgment — Page 8 of 8

DEFENDANT: ARIEL LEGASSA, Defendant.
CASE NUMBER: 1:22-cr-10038-IT-1

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A  @&_ Lumpsum payment of $ _ 1,000.00 due immediately, balance due

(0 notlaterthan
Mi inaccordance with [] C, OF D, WoE,or ( F below; or

B (J Payment to begin immediately (may be combined with CIc, C1D,or 1 F below); or

Cc (O Paymentinequal (8 weekly, monthly, quarterly) installments of $ ___ oovera period of
_ (e.g, months or years),to commence (e.g., 30 or 60 days) after the date of this judgment; or
D CF Paymentinequaal (e.g., weekly, monthly, quarterly) installments of $ over a period of
___ (e.g., months or years), to commence Cg, 30 or 60 days) after release from imprisonment to a

term of supervision; or

E 4 Payment during the term of supervised release will commence within 60 —_ (¢g, 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F [Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, pa ment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

C1 Joint and Several

Case Number . :
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

(The defendant shall pay the cost of prosecution.
(1 The defendant shall pay the following court cost(s):

1 The defendant shall forfeit the defendant’s interest in the following property to the United States:
$575,500.00. And a. $46,000 in funds held in or on behalf of American Broadcast Employees Federal Credit Union Prime share accounts ending in x4170, seized on March
29, 2022 (the “$46,000 seized from the 4170 Account’); b. A 2020 Tesla Model 3, bearing vehicle identification number 5YJ3E1EB4LF639020, seized on April 11, 2022 (the
“Tesla"); and c. A 1972 Piper Aircraft with model number PA-28R-200 bearing serial number 28-R-7335039, seized on April 11, 2022 (the Piper Aircraft”)
(collectively, the “Properties’).

Payments shall be applied in the following order: (1) assessment, (2 restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
